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 1 ERIN J. COX (State Bar No. 267954)
   Erin.Cox@mto.com
 2 MARK R. YOHALEM (State Bar No. 243596)
   Mark.Yohalem@mto.com
 3 BRANDON E. MARTINEZ (State Bar No. 318749)
   Brandon.Martinez@mto.com
 4 MUNGER, TOLLES & OLSON LLP
   350 South Grand Avenue
 5 Fiftieth Floor
   Los Angeles, California 90071-3426
 6 Telephone: (213) 683-9100
   Facsimile: (213) 687-3702
 7
   Attorneys for Defendant
 8 The Walt Disney Company
 9
10
                                UNITED STATES DISTRICT COURT
11
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12
13
     JEFFREY SCOTT, an individual,                 Case No. 2:20-CV-09709-SB-SK
14
                   Plaintiff,                      DEFENDANT THE WALT DISNEY
15                                                 COMPANY’S NOTICE OF
           vs.                                     MOTION AND MOTION TO
16                                                 DISMISS PLAINTIFF’S
   THE WALT DISNEY COMPANY, a                      COMPLAINT UNDER FED. R. CIV.
17 Delaware corporation; and DOES 1                P. 12(b)(1) AND 12(b)(6)
   through 10, inclusive,
18                                                 [Request for Judicial Notice and
                Defendants.                        Declaration of Alexander Myers filed
19
                                                   concurrently herewith]
20
                                                   Judge: Hon. Stanley Blumenfeld, Jr.
21
                                                   Date: March 26, 2021
22                                                 Time: 8:30 A.M.
                                                   Place: Courtroom 6C
23
                                                   Action Filing Date: October 22, 2020
24
25
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28

     DEFENDANT THE WALT DISNEY COMPANY’S MOT. TO DISMISS UNDER FED. R. CIV. P. 12(b)(1) & 12(b)(6)
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 1         TO PLAINTIFF JEFFREY SCOTT AND HIS COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that on March 26, 2021, at 8:30 A.M., or as soon
 3 thereafter as the matter may be heard, in Courtroom 6C of this Court, located at 350
 4 West 1st Street, Los Angeles, California 90012, Defendant The Walt Disney Company
 5 (“Defendant” or “Disney”) will and hereby does move pursuant to Federal Rules of
 6 Civil Procedure 12(b)(1) and 12(b)(6) for an order dismissing the Complaint of
 7 Plaintiff Jeffrey Scott on the grounds that this Court lacks subject matter jurisdiction
 8 over the action, as Plaintiff lacks standing to bring his sole federal claim for copyright
 9 infringement, and moreover that the Complaint fails to state any claim upon which
10 relief can be granted.
11         This Motion is made following the conference of counsel pursuant to Central
12 District Local Civil Rule 7-3, which took place on January 11 and January 22, 2021.
13 This Motion is based on the files, records, and proceedings in this action, this Notice,
14 the following Memorandum of Points and Authorities, Defendant’s Request for
15 Judicial Notice (“RJN”) and Declaration of Alexander Myers (“Myers Decl.”) and
16 accompanying exhibits filed concurrently therewith, the reply memoranda that
17 Defendant intends to file in support of this Motion, the arguments of counsel, and such
18 other matters as may be presented at the hearing on this Motion or prior to the Court’s
19 decision.
20
21 DATED: January 27, 2021                   MUNGER, TOLLES & OLSON LLP
                                               ERIN J. COX
22
                                               MARK R. YOHALEM
23                                             BRANDON E. MARTINEZ
24
25                                           By:         /s/ Erin J. Cox
26                                                          Erin J. Cox

27                                           Attorneys for Defendant The Walt Disney
28                                            Company


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 1 I.      INTRODUCTION
 2         Jeffrey Scott did not create Jim Henson’s Muppets in the 1950s or the idea of
 3 presenting them as babies in a nursery in the 1980s. Scott concedes that he was only
 4 brought on by Marvel Productions Ltd. (“Marvel”) to work on the Muppet Babies
 5 cartoon television show after the concept had already been developed by Henson
 6 Associates, Inc. (“HA”). He claims, though, that Muppet Babies effectively belongs to
 7 him—that Marvel guaranteed him “in perpetuity” “the right to write the script of each
 8 new episode produced” as well as royalties and even a screen credit for every episode,
 9 “whether or not he wrote it.” (Compl. ¶¶ 3, 19.)1
10         At the threshold, Scott’s suit must be dismissed under Rule 12(b)(1). HA
11 authorized development of Muppet Babies only on a work-for-hire basis; either that
12 applies to Scott (and he has no copyright claim) or he was working without
13 authorization (and anything he developed was an unauthorized derivative work, which
14 cannot be copyrighted). Either way, he thus lacks standing to pursue his copyright
15 infringement claim, the only basis for federal jurisdiction. He is also judicially
16 estopped from claiming copyright because he did not disclose any such asset in his
17 most recent bankruptcy. This is unsurprising, because there is no way he could have
18 one. This Court must dismiss under Rule 12(b)(1).
19         The Complaint also requires dismissal under Rule 12(b)(6) for at least four more
20 reasons. First, any purported copyright in Scott’s derivative work (in 1984) is
21 unenforceable against the holder of the Muppet copyrights because none of his alleged
22 contributions to the underlying intellectual property are original, copyrightable, and
23 non-trivial, or substantially similar to the Muppet Babies series of 2018.
24         Second, contrary to his false allegation that he never signed an agreement with
25 Marvel, Scott in fact signed a written, fully integrated contract governing his services
26
27   1
    Scott sued The Walt Disney Company because in more recent years it has acquired
28 Marvel and the Muppets.

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 1 on the Muppet Babies series. The terms of that agreement refute the alleged rights “in
 2 perpetuity” that Scott claims he got from a prior “partly oral and partly in writing”
 3 agreement. The written agreement (incorporated by reference in the Complaint and
 4 thus properly considered on a Rule 12(b)(6) motion) explicitly supersedes any
 5 purported prior oral/unsigned agreement.
 6         Third, Scott has failed to plead a viable claim for breach of an implied contract
 7 under which Disney would pay him for ideas he allegedly shared with Disney in 2016
 8 for the reboot of Muppet Babies. Scott bears the burden of pleading (1) that he
 9 disclosed ideas otherwise unavailable to Disney, and (2) that Disney understood it had
10 an obligation to pay him for that disclosure, but all he alleges is that he shared ideas he
11 already disclosed for free or which were already present in the 1984 Muppet Babies
12 series. Moreover, if this is an implied-contract claim, it is time-barred.
13         Finally, Scott’s promissory-fraud claim does not meet the requirement of Rule
14 9(b) that fraud be pleaded with particularity. Instead, it is all speculation, “information
15 and belief.”
16 II.     BACKGROUND
17            A. Jim Henson’s Muppets and Muppet Babies
18         Jim Henson originated his iconic Muppet characters in the 1950s; the Muppets
19 gained a nationwide television audience in the following decades, and appeared on the
20 big screen in motion pictures. (RJN, Exs. D-1–D-2.) Their third film, The Muppets
21 Take Manhattan, was filmed in the summer of 1983. (Id., Exs. B-2, D-3–D-5.) The
22 film featured a dream sequence in which the adult Muppet characters—Kermit, Miss
23 Piggy, Gonzo, and others—were shown as toddlers together in a nursery setting,
24 singing and engaging in imaginative adventures. For instance, while climbing a crib,
25 baby Miss Piggy imagines climbing the Matterhorn. (Id., Ex. B-2 at 50:51–54:36.)
26         Muppet Babies, an animated cartoon television series produced by Marvel from
27 1984 to 1991, expanded on this depiction of the Muppets as babies. Jim Henson and
28 HA employees developed the show during a brainstorming session on March 10, 1984.

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 1 (Myers Decl., Ex. B.) The notes of that meeting (which may be considered for
 2 purposes of a Rule 12(b)(1) motion) state that the show would “revolve[] around the
 3 Muppet Babies and their relationships with each other,” “take[] place in a nursery—a
 4 sort of generic nursery,” and “all fantasies begin and end in the nursery.” (Id. at 2.)
 5 “When their nanny or an adult enters the room, they may revert to baby sounds, an
 6 obvious change from their usual witty, imaginative, cooperative (or dictatorial)
 7 behavior.” (Id.)
 8         Marvel and HA signed a production agreement governing their co-production of
 9 the Muppet Babies series, dated March 15, 1984 (this document is also properly
10 considered on a Rule 12(b)(1) motion). (Id., Ex. A.) Under the agreement, HA
11 licensed to Marvel, under specified conditions, certain intellectual property for use “in
12 connection with the production of the Series or any Episode thereof,” including
13 “copyrighted or otherwise protected characters owned or controlled by HA and known
14 as ‘Muppet Babies’” and “the concept for the Series.” (Id. § 1.1.) The agreement
15 provided that “HA shall own all right, title and interest in and to the Series and each
16 Episode thereof,” including “each and every character, characterization, depiction, and
17 all other written … elements … .” (Id. § 5.1.) Marvel, moreover, agreed that all
18 services performed by it or by “all Persons engaged by [Marvel] hereunder and all
19 results and proceeds thereof” would “be considered a work made for hire” and that
20 “[a]ny and all contracts or agreements entered into by [Marvel] with a third Person in
21 connection with the Series or any Episode thereof shall so provide.” (Id.) “[A]s
22 between [Marvel] and HA,” the production agreement further provided, “or any Person
23 engaged by [Marvel], only HA shall own and have the right to copyright the same.”
24 (Id.) Consistent with this agreement, HA’s original copyright registrations for the
25 Muppet Babies series note that the author of each script is “Marvel Productions, Ltd.,
26 employer for hire.” (RJN, Exs. E-1 – E-106.)
27            B. Scott’s Work on the Original Muppet Babies Series
28         Scott alleges that “Marvel obtained [his] services to create a series production

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 1 bible and write scripts for a new Muppet-based television show, depicting the Muppet
 2 characters as youngsters.” (Compl. ¶¶ 19, 36.)2 The bible is dated April 6, 1984, and
 3 bears Marvel’s and HA’s names on the cover page. (Id., Ex. 1.) The bible explicitly
 4 describes its goal as simply repackaging the existing, copyrighted Muppets characters
 5 as babies: “THE MUPPET BABIES … are exactly that. All of those wonderful
 6 Muppet characters we’ve grown to love … as babies.” (Id. at 2 (original ellipses).)
 7 Each maintained “the unique character traits of their adult selves,” and, as in The
 8 Muppets Take Manhattan and HA’s March 1984 brainstorming session notes, carried
 9 out imaginary adventures in a children’s nursery. (Id.) Some of the language is lifted
10 verbatim from HA’s March 1984 brainstorming session notes.3
11         According to Scott, he and Marvel entered into an agreement entitling Scott “in
12 perpetuity” to the option to write the script for each and every Muppet Babies episode
13 ever produced; to be paid an additional $3,500 royalty and receive a “Developed for
14 Television by” credit for each episode ever produced; and to be paid $12,000 for each
15 script he elected to write. (Compl. ¶ 19.) Scott alleges that this “partly oral and partly
16 in writing” contract consisted of both oral promises by Marvel and unspecified terms
17
     2
18     Scott alleges that his partly oral and partly written agreement with Marvel was
     entered into in October 1983, which predates the March 1984 production agreement
19   between HA and Marvel under which Marvel was engaged as a producer of the
20   Muppet Babies series. Scott’s reliance on a purported oral agreement that predates
     Marvel’s engagement as producer of Muppet Babies by HA only strengthens the
21   conclusion that Scott’s derivative work is unauthorized, if not a work-for-hire made in
22   accordance with the Marvel/HA production agreement.
     3
       Compare, e.g., Myers Decl., Ex. B at 2 (March 1984 HA brainstorming session
23   notes) (“KERMIT: as usual, he is the gang leader. He is also the straight man...”), with
24   Compl., Ex. 1 at 3 (April 1984 production bible) (“KERMIT… As usual, Kermit is the
     gang leader (although sometimes overwhelmed by the responsibility of this position).
25   He is also the straight man.”); compare Myers Decl., Ex. B at 3 (“PIGGY: is cute and
26   sweet and tough—a younger version of her older self. She tells stories in a way that
     interests (and therefore stars) her.”), with Compl., Ex. 1 at 4 (“PIGGY… She is cute
27   and sweet and tough—a younger version of her older self. Piggy tells stories in a way
28   that interests (and therefore stars) her.”).

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 1 in various “proposed written agreements” that Marvel presented to Scott but that he
 2 never signed. (Id. ¶ 36.) Scott alleges that he “never accepted” and “never fully
 3 executed” any “written agreements” proposed by Marvel. (Id. ¶ 19.)
 4         These allegations are conclusively refuted by a written agreement that the
 5 Complaint incorporates by reference. In 1990, Scott, his loan-out company (Jeffrey
 6 Scott Productions, Inc.), and Marvel executed a written storyperson agreement
 7 regarding his work on Muppet Babies. (See Myers Decl., Ex. C §§ 1, 5.) (The Court
 8 may consider the 1990 storyperson agreement incorporated by reference because it
 9 bears dispositively on the validity and terms of Scott’s contractual relationship with
10 Marvel and is therefore integral and squarely relevant to his Complaint.4) The
11 agreement disproves Scott’s claim that he “never accepted” and “never fully executed”
12 any “written agreements” proposed by Marvel regarding his work on Muppet Babies,
13 (Compl. ¶ 19), and Scott’s failure to attach this executed written agreement “rais[es]
14 the spectre that [Scott] failed to incorporate” the document expressly “in the complaint
15 as a means of avoiding Rule 12(b)(6) dismissal,” Hotel Emps., 393 F. Supp. 2d at 979.
16 Having signed the 1990 agreement, including a rider indicating he had reviewed and
17 understood all its terms, Scott cannot dispute its authenticity. See Coto Settlement v.
18 Eisenberg, 593 F.3d 1031, 1038 (9th Cir. 2010).
19            C. Scott Fails to Disclose His Alleged Muppet Babies Copyright and
                 Contract as Assets in Bankruptcy.
20
21         In 2003, Scott declared Chapter 7 bankruptcy for the second time. (See RJN,
22 Ex. A.) Under the heading of “Patents, copyrights, and other intellectual property,”
23 Scott disclosed as assets “[e]ight screenplays” and “[t]wenty-five television series
24 ideas,” all of which had “been marketed for sale . . . without success.” (Id. at 12-13
25
     4
    See Hotel Emps. & Rest. Emps. Loc. 2 v. Vista Inn Mgmt. Co., 393 F. Supp. 2d 972,
26 979 (N.D. Cal. 2005); see also, e.g., Birdsong v. AT&T Corp., 2013 WL 1120783, at
27 *2 (N.D. Cal. Mar. 18, 2013) (considering agreement releasing plaintiff’s claims on
   motion to dismiss even though not expressly incorporated into complaint because
28 plaintiff “would have no valid claims unless the release agreement did not bar them”).

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 1 (italics added).) Obviously, this category could not include any copyright related to
 2 Muppet Babies, a very successful television show. Nowhere in his filings did Scott
 3 disclose the alleged perpetual rights of first refusal and to hefty royalties for any use of
 4 Muppet Babies, even though he scheduled as assets other royalties under the
 5 intellectual-property category. (Id.)
 6            D. Disney Reboots Muppet Babies.
 7         In November 2014, Scott allegedly suggested to Lisa Henson, the president of
 8 HA (now known as the Jim Henson Company), that Disney “produce new Muppet
 9 Babies shows.” (Compl. ¶ 22.) Henson connected Scott with a vice president at
10 Disney’s Muppets Studio, who purportedly told Scott that Disney was already
11 planning to re-release the original Muppet Babies series and “expressed interest” in
12 rebooting it, too. (Id. ¶ 23.) Over a year later, in early 2016, Scott allegedly met with
13 two Disney executives and shared “his ideas” for a Muppet Babies reboot. (Id. ¶ 24.)
14         Scott’s “new” series was simply the old series using Disney’s newer animation
15 technology. Scott urged: “If it ain’t broke, don’t fix it!” (Id., Ex. 3 at 1.) The “basic
16 structure of the series should remain the same”; “update the animation” to “look[] like
17 a 2017 production” with “Pixar-Disney quality CG,” he said, and “revise a few of its
18 elements to make them fit better in today’s world.” (Id. at 1-3.) Scott’s alleged
19 specific ideas included setting the nursery in a “charming old house” with “art
20 supplies, books, a table,” and an “outdoor play area with play equipment”; “making the
21 nanny character younger”; having her socks change between episodes; and “structuring
22 episodes around the Muppet Babies encountering problems in the real world and using
23 their imaginations to explore, amplify, and resolve them.” (Id. ¶ 24.) Scott allegedly
24 gave the Disney executives copies of some of his scripts for the original Muppet
25 Babies series and a three-page pitch containing his ideas for the reboot. (Id.) He
26 alleges no other interaction with the Disney executives or involvement in the
27 development or production of the Muppet Babies reboot.
28         On March 23, 2018, Disney launched its new, computer-animated Muppet

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 1 Babies series. (See id. ¶ 25.) The new series received extensive media attention and
 2 promotion by Disney and its affiliates beginning in October 2016, years before its
 3 release. (See, e.g., RJN, Exs. C-1 – C-12, D-6.)
 4            E. Scott Registers a Copyright in the 1984 Bible and Sues Disney.
 5         In late October 2019, three years after Disney’s Muppet Babies reboot was
 6 widely publicized, Scott registered a purported copyright for the 1984 production
 7 bible. (See Compl., Exs. 1-2.) Three months later, on January 31, 2020, Disney
 8 agreed to toll the statutes of limitations for any Muppet Babies-related claims Scott
 9 may have against it until September 4, 2020. (Id. ¶ 25.) When the parties entered into
10 the tolling agreement at the end of January 2020, the two-year limitations period had
11 already run. Scott filed this action on October 22, 2020, approximately six weeks after
12 the tolling agreement expired.
13         In this lawsuit, Scott asserts that the reboot of the Muppet Babies infringes his
14 purported copyright in the 1984 production bible for the original Muppet Babies series
15 and constitutes a breach of the “partly oral and partly in writing” contract he allegedly
16 made with Marvel in connection with his work on that series. (See id. ¶¶ 27-51.) He
17 also sues for breach of an implied contract allegedly formed in 2016, under which
18 Disney “agreed to pay [him] for the appropriation and use” of the ideas he shared with
19 its executives for the Muppet Babies reboot. (Id. ¶¶ 41-47.) Finally, Scott sues for
20 promissory fraud, contending that Disney’s executives “represented that [Disney]
21 would pay and credit him for his ideas for the reboot and [would] consider offering
22 him an opportunity to work on the reboot” but in fact had no intention of doing so. (Id.
23 ¶¶ 48-51.)
24 III.    Rule 12(b)(1): The Court Lacks Jurisdiction Because Scott Lacks Standing
           to Bring His Copyright Claim.
25
26         For two independent reasons, Scott lacks standing to claim a copyright in the
27 1984 Muppet Babies production bible and, as a result, this Court lacks subject-matter
28 jurisdiction over Scott’s sole federal claim, warranting dismissal of the entire lawsuit

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 1 under Rule 12(b)(1). A party may seek dismissal under Rule 12(b)(1) “either on the
 2 face of the pleadings or by presenting extrinsic evidence.” Warren v. Fox Family
 3 Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003). “[I]f [plaintiff] lacks standing
 4 to assert his federal copyright claims, the district court d[oes] not have subject matter
 5 jurisdiction and dismissal [i]s appropriate.” Id. at 1140.
 6         First, in light of the terms of the production agreement that placed conditions on
 7 HA’s licensing of Muppet Babies intellectual property for purposes of developing the
 8 cartoon show, Scott’s work on the Muppet Babies bible can only be either (a) a work
 9 for hire (in reality) or (b) an unauthorized derivative work (if one accepts Scott’s
10 allegations that his agreement with Marvel granted him intellectual-property interests
11 in the Muppet Babies). In either case, Scott lacks standing to claim copyright.5
12 Second, Scott is judicially estopped from asserting any copyright relating to his work
13 on Muppet Babies (including in the 1984 production bible) because he did not include
14 such a copyright among his assets in his 2003 bankruptcy.
15         A.     Scott Lacks Standing to Pursue a Copyright Claim Based on a Work
                  Made For Hire or an Unauthorized Derivative Work.
16
17         Scott lacks standing to bring his copyright-infringement claim based on the 1984
18 bible because it was either a work made for hire or an unauthorized derivative work.
19 The reality—as reflected in the 1990 storyperson agreement, the contemporaneous
20 copyright registrations, and HA’s production agreement with Marvel—is that Scott’s
21 work was a work made for hire. That is why Scott’s bogus claim rests on a “partly
22 oral, partly in writing” agreement documented nowhere, and why he included none of
23
24   5
       Although copyright registration certificates obtained within five years of first
25   publication of the underlying work are prima facie evidence of the validity of the
     copyright and the facts stated therein, including ownership, Scott obtained his
26   copyright registration nearly 40 years after he wrote the bible, and it is not entitled to a
27   presumption of validity. 17 U.S.C. § 410(c). By contrast, HA’s original copyright
     registrations for the Muppet Babies series in the 1980s do constitute prima facie
28   evidence of ownership and the facts stated therein.
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 1 these key documents with his Complaint. In Warren, the Ninth Circuit affirmed
 2 dismissal under Rule 12(b)(1) of copyright claims based on the district court’s
 3 consideration of contracts that showed that the works in which the plaintiff claimed
 4 copyright had been “works made for hire,” such that the plaintiff lacked standing to
 5 sue. 328 F.3d at 1140-41; see also Righthaven LLC v. Hoehn, 716 F.3d 1166, 1170
 6 (9th Cir. 2013) (affirming dismissal of copyright infringement suit on Rule 12(b)(1)
 7 motion for lack of standing where plaintiff held no beneficial rights to allegedly
 8 infringed work under relevant contracts). So too here.
 9         But if, as Scott contends, his work on the 1984 production bible was not a work
10 for hire, then it necessarily was an unauthorized derivative work, which likewise
11 deprives Scott of standing. A “derivative work” is one which “would be considered an
12 infringing work if the material which it has derived from a preexisting work had been
13 taken without the consent of the copyright proprietor of such preexisting work.”
14 Mirage Editions, Inc. v. Albuquerque A.R.T. Co., 856 F.2d 1341, 1343 (9th Cir. 1988)
15 (citations omitted). HA, not Marvel, was the “copyright proprietor” of the Muppet and
16 Muppet Babies characters, as well as the premise of the Muppets as babies in a nursery
17 with overactive imaginations—as depicted in The Muppets Take Manhattan and HA’s
18 brainstorming session notes. (See RJN, Ex. B-2 at 50:51–54:36; Myers Decl., Ex. B.)
19 The Muppet Babies production bible is a quintessential derivative work derived from
20 the pre-existing Muppet characters. Its very introduction begins: “THE MUPPET
21 BABIES … are exactly that. All of those wonderful Muppet characters we’ve grown
22 to love … as babies…. Picture a wild and zany nursery filled with these baby
23 Muppets, each with the unique character traits of their adult selves….” (Compl., Ex. 1
24 at 2.) And indeed, even in his October 2019 registration of the Muppet Babies
25 production bible—a registration carried out with this litigation in mind—Scott
26
27
28

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 1 “exclude[s]” any claim to the preexisting “Muppet characters.” (Id., Ex. 2.)6
 2         For Scott’s development of the production bible to be anything other than
 3 infringement would therefore require HA’s consent. The Complaint alleges no
 4 agreement between Scott and HA, only one between “Scott and Marvel.” (Compl.
 5 ¶ 36; see also, e.g., id. ¶¶ 3, 19.) Marvel, of course, did not own the copyright to the
 6 Muppet characters; HA did. Any authorization Marvel could give Scott was thus a
 7 sublicense to what Marvel and HA agreed; and that agreement, dated March 15, 1984,
 8 is unambiguous that any work performed by Marvel or anyone engaged by Marvel
 9 would be work made for hire. (See Myers Decl., Ex. A §§ 1.1, 5.1.)
10         First, the “Licensed Elements” from HA include the “copyrighted or otherwise
11 protected characters . . . known as ‘Muppet Babies’” as well as “the concept for the
12 Series.” (Id. § 1.1.) Second, the production agreement expressly provides that “HA
13 shall own all right, title and interest in an to the Series and each Episode thereof,”
14 including “each and every character, characterization, depiction, and all other written,
15 musical or other soundtrack elements.” (Id. § 5.1.) Third, Marvel “acknowledges that
16 the services to be performed by [Marvel] and all Persons engaged by [Marvel]
17 hereunder and all results and proceeds thereof are works specially ordered or
18 commissioned for use as a contribution to a motion picture or other audio visual work
19 and that all such services, results and proceeds thereof shall be considered a work
20 made for hire. Any and all contracts or agreements entered into by [Marvel] with a
21 third Person in connection with the Series or any Episode thereof shall so provide.”
22 (Id., emphasis added). Finally, Marvel “further agrees and acknowledges that HA is
23 the Person for whom all work pursuant to this Agreement is and will be prepared and
24 that HA shall be considered the author for purposes of copyright and shall own all the
25
     6
     The Copyright Act requires an application for a derivative work to identify “any
26 preexisting work or works that it is based on or incorporates, and a brief, general
27 statement of the additional material covered by the copyright claim being registered.”
   17 U.S.C. § 409(9). The “[n]ew material included in claim” according to Scott’s
28 registration is, simply, “text.” (Compl., Ex. 2.)

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 1 rights comprised in and to the copyright of such work and each Episode and that, as
 2 between [Marvel] and HA, or any Person engaged by [Marvel], only HA shall own
 3 and have the right to copyright the same and that HA may copyright the same in HA’s
 4 name or the name of its nominee(s).” (Id., emphasis added.)
 5         Under no circumstances could Marvel authorize Scott to develop the Muppet
 6 Babies as his own copyrightable work. Thus, if—as Scott falsely alleges—Marvel did
 7 not enter into a work-for-hire arrangement with him, then his use of HA’s copyrighted
 8 material was unauthorized and his work was an unauthorized derivative work—one
 9 “pervaded” by copyrighted characters belonging to HA. In this scenario, Scott cannot
10 claim copyright. No jurisdiction permits the author to claim copyright over an
11 unauthorized derivative work “‘if the pre-existing work tends to pervade the entire
12 derivative work.’” Sobhani v. @Radical.Media Inc., 257 F. Supp. 2d 1234, 1239-40
13 (C.D. Cal. 2003) (quoting 1 Nimmer on Copyright § 3.06). Some jurisdictions go
14 farther still and hold that the author of an unauthorized derivative work can claim
15 copyright protection in no part of that work. E.g., Pickett v. Prince, 207 F.3d 402, 406
16 (7th Cir. 2000) (“A derivative work is, by definition, bound to be very similar to the
17 original. Concentrating the right to make derivative works in the owner of the original
18 work prevents what might otherwise be an endless series of infringement suits posing
19 insoluble difficulties of proof.”).
20         Under either approach to an unauthorized derivative work, Scott lacks a valid
21 copyright. Just as the Jack-in-the-Box character “Jack” pervaded the commercials in
22 Sobhani, id. at 1239, and the Rocky characters pervaded the spec script in Anderson v.
23 Stallone, 1989 WL 206431, at *8 (C.D. Cal. Apr. 25, 1989), so too do the Muppet
24 characters indisputably pervade the 1984 show bible, precluding any claim to
25 copyright protection by Scott. As the production bible puts it: “THE MUPPET
26 BABIES … are exactly that. All of those wonderful Muppet characters we’ve grown
27 to love … as babies.” (Compl. Ex. 1 at 2 (original ellipses).) Scott cannot claim a
28 copyright even on his own theory.

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 1         B.     Scott Is Judicially Estopped From Asserting His Purported
                  Copyright to the 1984 Production Bible.
 2
 3         Scott is also judicially estopped from claiming copyright in the 1984 production
 4 bible because he failed to disclose the copyright as an asset in his 2003 bankruptcy
 5 petition. Scott “had an affirmative duty to schedule his alleged copyright as an asset
 6 when he filed for bankruptcy.” Voss v. Knotts, 2012 WL 12846092, at *2 (S.D. Cal.
 7 May 29, 2012). “If [a debtor] fail[s] properly to schedule an asset ... that asset
 8 continues to belong to the bankruptcy estate and d[oes] not revert to [the debtor].”
 9 Cusano v. Klein, 264 F.3d 936, 945-46 (9th Cir. 2001). Failure to disclose a copyright
10 in bankruptcy proceedings thus estops the debtor from later suing on that copyright.
11 “[J]udicial estoppel ensures that debtors make a ‘full and honest disclosure’ of their
12 assets in the original bankruptcy proceeding.” Rose v. Beverly Health & Rehab.
13 Servs., Inc., 295 F. App’x 142, 144 (9th Cir. 2008).
14         An analogous instance of judicial estoppel can be found in J2F Productions Inc.
15 v. Sarrow, 2010 WL 11515282 (C.D. Cal. Nov. 16, 2010). There, the plaintiff had
16 “failed to include the 2003 oral contract [with the defendant] as an asset” in his 2005
17 bankruptcy and had been granted discharge by the bankruptcy court. Id. at *4. As a
18 result, the plaintiff was “judicially estopped from (1) bringing any claim against
19 [defendant] arising out of the 2003 oral contract or (2) deriving any ownership rights in
20 [defendant’s] Film or the Film’s copyright based on the 2003 oral contract.” Id.
21         Here, Scott’s bankruptcy filings listed as (worthless) assets eight screenplays
22 marketed for sale “without success,” and twenty-five “television series ideas”
23 marketed for sale “without success.” (RJN, Ex. A at 12-13.) Scott did not disclose
24 any copyright to the 1984 Muppet Babies bible; this makes sense because Scott never
25 had any such copyright. But even if he did have such a copyright, “[b]y failing to
26 properly schedule his alleged copyright asset, the copyright asset continues to belong
27 to the bankruptcy estate and did not revert to [Scott].” Voss, 2012 WL 12846092, at
28 *2. Scott thus lacks standing to assert the copyright in this lawsuit.

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 1 IV.     Rule 12(b)(6): Scott’s Claims Fail as a Matter of Law.
 2            A. Scott’s Copyright Infringement Claim Fails on Its Merits.
 3         Even were the Court to hold that Scott has standing to bring his copyright claim,
 4 and is not judicially estopped from asserting infringement, the claim would fail as a
 5 matter of law for two reasons: (1) any protectable derivative contributions to the
 6 Muppet Babies franchise in the 1984 bible are so meager that Scott’s alleged copyright
 7 over it is unenforceable against the owner of the Muppets intellectual property, and
 8 (2) taken as a whole, those minimal contributions are not substantially similar to
 9 Disney’s Muppet Babies reboot, taken as a whole.
10                1.     Scott’s Alleged Copyright in the 1984 Bible Is Unenforceable.
11         Even if Scott’s registration of his alleged copyright in the 1984 bible is valid—
12 which, as explained above, it is not—Scott’s contributions to the preexisting Muppets
13 and Muppet Babies intellectual property belonging to HA were so trivial as to render
14 his purported copyright unenforceable against Disney, the owner of the intellectual
15 property in the Muppets characters. “[W]here the copyright owner has authorized a
16 third party to prepare a derivative work based on the owner’s pre-existing work,
17 copyright protection in the derivative work will cover only ‘the material contributed by
18 the author of such work, as distinguished from the preexisting material employed in
19 the work.’” U.S. Auto Parts Network, Inc. v. Parts Geek, LLC, 692 F.3d 1009, 1016
20 (9th Cir. 2012) (quoting 17 U.S.C. § 103(b)). To be copyrightable, “(1) ‘the original
21 aspects of a derivative work must be more than trivial’ and (2) ‘the original aspects of
22 [the] work must … not in any way affect the scope of any copyright protection in that
23 preexisting material.’” Id. (internal quotation marks omitted).7
24
25
26   7
     See also Stewart v. Abend, 495 U.S. 207, 223 (1990) (“The aspects of a derivative
27 work added by the derivative author are that author’s property, but the element drawn
   from the pre-existing work remains on grant from the owner of the pre-existing
28 work.”).

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 1         Scott cannot claim copyright over the bible’s description of “those wonderful
 2 Muppet characters we’ve grown to love … as babies” with all “the unique character
 3 traits of their adult selves.” (Compl., Ex. 1 at 2.) Not only was this “Muppets as
 4 babies” concept already developed by Jim Henson and HA before Scott was
 5 approached by Marvel, but to allow Scott such a derivative copyright would
 6 unlawfully diminish “the scope of [Disney’s] copyright” over the original Muppet
 7 characters on which the Muppet Babies are indisputably based. U.S. Auto, 692 F.3d at
 8 1016. Scott’s 2019 registration of the bible correctly concedes as much. (See Compl.,
 9 Ex. 2 (excluding “Muppet characters” from registration).) The Muppet Babies are
10 exactly the kind of character “derived from [another’s] underlying work” that the
11 Ninth Circuit has held lack “any independently copyrightable elements that would not
12 ‘affect the scope of any copyright protection in that preexisting material.’” DC Comics
13 v. Towle, 802 F.3d 1012, 1025 (9th Cir. 2015) (quoting Parts Geek, 692 F.3d at 1016).
14         Nor can Scott claim copyright over the 1984 bible’s description of the show’s
15 setting or premise of imaginary adventures, which are (1) scenes-a-faire that flow from
16 the idea of depicting the Muppets as babies or (2) “[g]eneral plot ideas … not protected
17 by copyright law.” Berkic v. Crichton, 761 F.2d 1289, 1293 (9th Cir. 1985). (See
18 Compl. ¶ 21.) Moreover, HA had already presented the Muppets as babies in a toy-
19 filled nursery, and depicted them ideating and singing about imaginary adventures, in
20 The Muppets Take Manhattan—the production of which preceded Scott’s preparation
21 of the 1984 production bible. Indeed, The Muppets Take Manhattan featured (a) the
22 Muppets as babies (b) in a nursery (c) singing a musical number (d) accompanied by
23 the character Rowlf’s piano while (e) sharing an imaginative fantasy (f) in which
24 another character pretends to be a mountain climber, (see RJN, Ex. B-2 at 50:51–
25 54:36), a scenario Scott simply copied into the 1984 Muppet Babies bible, (see Compl.,
26 Ex. 1 at 18-23, 24-25, 28). When its unoriginal and otherwise nonprotectable elements
27 are filtered out, what ideas remain in the 1984 bible are so trivial that Scott’s purported
28 copyright is unenforceable as a matter of law. U.S. Auto, 692 F.3d at 1016 (“[T]he

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 1 original aspects of a derivative work must be more than trivial.” (citation omitted)).
 2                2.     There Is No Substantial Similarity Between the Protectable
                         Elements of the 1984 Bible and the Muppet Babies Reboot.
 3
 4         Even were the Court to hold that Scott can claim copyright in the bible as a
 5 work, his copyright claim nonetheless fails for lack of substantial similarity between
 6 the bible’s protectable elements and the Muppet Babies reboot as a whole.
 7         To prevail on his infringement claim, Scott must plead and prove that, after “an
 8 objective comparison of specific expressive elements,” “the protectable elements [of
 9 the purportedly infringed work], standing alone, are substantially similar” to the
10 purportedly infringing work in “plot, themes, dialogue, mood, setting, pace, characters,
11 and sequence of events.” Benay v. Warner Bros. Ent., 607 F.3d 620, 624 (9th Cir.
12 2010), overruled on other grounds by Skidmore v. Led Zeppelin, 952 F.3d 1051, 1065-
13 69 (9th Cir. 2020). In performing this substantial-similarity analysis, the Court must
14 “filter out and disregard the non-protectable elements” of the allegedly infringed work.
15 Funky Films, Inc. v. Time Warner Ent. Co., 462 F.3d 1072, 1077 (9th Cir. 2006),
16 overruled on other grounds by Skidmore, 952 F.3d at 1065-69. The inquiry
17 “compares[] not the basic plot ideas … but the actual concrete elements that make up
18 the total sequence of events and the relationships between the major characters.” Id.
19 (quoting Berkic, 761 F.2d at 1293). The inquiry is “fact-specific” but “may often be
20 decided as a matter of law.” Benay, 607 F.3d at 624.
21       Scott has failed to identify any specific elements in the 1984 production bible
22 that are protectable and nontrivial, let alone any that bear an “articulable similarity” to
23 an element of the Muppet Babies reboot. See Benay, 607 F.3d at 624. Scott
24 specifically claims credit for having originated the Muppet Babies’ “mix of
25 entertainment and education” and its depiction of “fantasies and adventures that spring
26 from the characters’ imaginations.” (Compl. ¶ 21.) As noted, these ideas for the
27 Muppet Babies were not original to Scott, but even if they were, “[g]eneral plot
28 ideas are not protected by copyright law,” Berkic, 761 F.2d at 1293, and both are

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 1 “themes that are staples of literature,” Cavalier v. Random House, Inc., 297 F.3d 815,
 2 823 (9th Cir. 2002). A nursery presided over by “an adult woman who looks after the
 3 Muppet Babies” and is much taller than these babies (i.e., the “Nanny” character),
 4 (Compl., Ex. 1 at 14), “flow[s] directly from the basic premise of” a show about a
 5 group of unrelated babies spending time together; such elements are nonprotectable
 6 scenes a faire. Shame On You Prods. v. Banks, 120 F. Supp. 3d 1123, 1151-52 (C.D.
 7 Cal. 2015); see also, e.g., Abdullah v. Walt Disney Co., 2016 WL 5380930, at *7 (C.D.
 8 Cal. Mar. 14, 2016) (“A castle with guards is a scene a faire in fairy tales.”). Indeed,
 9 the bible itself refers to this as a “generic nursery” setting. (Compl., Ex. 1 at 24.)
10         Nor can Scott copyright the idea of babies exploring their creativity through
11 “fantasies and adventures that spring from the characters’ imaginations …, often
12 taking them to new environments.” (Id. ¶ 21.) “Copyright law only protects
13 expression of ideas, not the ideas themselves.” Cavalier, 297 F.3d at 823 (citing 17
14 U.S.C. § 102(b)). And the Ninth Circuit has specifically held that “the use of ‘magical
15 adventures,’ a stock plot device, [is not] protect[a]ble.” Id. at 828. Once all
16 nonprotectable elements of the bible are properly filtered out, Scott can point to no
17 “articulable similarities” sufficient to establish substantial similarity between the works
18 as a whole, rather than passing similarities between selected elements of both. Benay,
19 607 F.3d at 624. The claim should therefore be dismissed with prejudice.
20            B. Scott’s Breach of Contract Claim Fails.
21         Bankruptcy estoppel, a fully integrated written agreement, and a lack of mutual
22 assent all preclude Scott’s claim of a “partly oral and partly in writing” agreement
23 entitling him to a development credit, payment, and “the right to write the script of
24 each new [Muppet Babies] episode produced,” “in perpetuity.” (Compl. ¶¶ 19, 36.)
25 Each of these grounds requires dismissal with prejudice.
26                1.   Scott Is Estopped From Asserting Breach of an Alleged
                       Contract He Failed to Disclose In His Bankruptcy.
27         For the same reason Scott is judicially estopped from asserting any purported
28 copyright to the Muppet Babies bible (see Part III.B supra), he is also estopped from

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 1 asserting a perpetual contractual royalty right: he failed to declare any such right as an
 2 asset during his 2003 bankruptcy. See Johnston v. Discover Bank, 2011 WL 2420216,
 3 at *2 (C.D. Cal. June 16, 2011) (dismissing under Rule 12(c), as 12(b)(6) equivalent,
 4 based on bankruptcy records and estoppel); Sarrow, 2010 WL 11515282, at *4.
 5                2.     The 1990 Storyperson Agreement Superseded Scott’s
                         Purported 1983 Contract with Marvel.
 6
           Scott’s implausible “partly oral and partly in writing,” unexecuted agreement, if
 7
     it ever existed, was superseded by the 1990 fully executed and integrated storyperson
 8
     agreement between Scott, his loan-out company, and Marvel. (See Decl., Ex. C.) The
 9
     1990 agreement provides that it “contains the entire understanding of the parties as to
10
     the subject matter [t]hereof”; that it supersedes “all prior agreements as to such subject
11
     matter”; and that it “may not be amended except by a written waiver signed by the
12
     parties.” (Id.) “Where there is an inconsistency between two agreements both of
13
     which are executed by all of the parties, the later contract supersedes the former.”
14
     Frangipani v. Boecker, 64 Cal. App. 4th 860, 863 (1998).8 The 1990 agreement is
15
     inconsistent with the alleged key terms of the implausible, earlier, unexecuted, partly
16
     oral contract.
17
           The 1990 agreement was signed by Scott, Scott’s loan-out company, and
18
     Marvel, and included an integration clause recognized by California precedent, (Myers
19
     Decl., Ex. C at 3, 12; id. § 16(f)-(g); see 250 L.L.C. v. PhotoPoint Corp., 131 Cal. App.
20
     4th 703, 725 (2005). The agreement provided that $13,500 per script was Scott’s “full
21
     compensation” and that he would “not be entitled to any additional compensation in
22
     connection with … use and/or exploitation” of his work “unless such is expressly
23
24
     8
25   See also Tremayne v. Striepeke, 262 Cal. App. 2d 107, 114 (1968) (“[A] later
   instrument supersedes an earlier one whenever they are inconsistent.”); In re Carthage
26 Tr., 2013 WL 589208, at *7 (C.D. Cal. Feb. 14, 2013) (two contracts that “came later
27 in time ... would supersede [an] original”); see also Cal. Civ. Code § 1697 (“A contract
   not in writing may be modified in any respect by consent of the parties, in
28 writing ... and is extinguished thereby to the extent of the modification.”).

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 1 provided for in this Agreement.” (Myers Decl., Ex. C §§ 5, 7.) Further, Marvel was
 2 “not obligated to use [Scott’s] services,” and the $13,500 would “fully discharge” any
 3 obligations to him. (Id. § 15.) These terms flatly contradict Scott’s allegations that he
 4 had an agreement with Marvel that required Marvel to permit him to write every script
 5 and to pay him a $3,500 royalty for each new Muppet Babies episode “in perpetuity.”
 6 (Compl. ¶ 19.) The written agreement controls because a party may not rely on a
 7 purported prior agreement to contradict the terms of an integrated written one. See
 8 Take Me Home Rescue v. Luri, 208 Cal. App. 4th 1342, 1351-52 (2012). Scott’s
 9 failure to mention the 1990 agreement—indeed, his affirmative pleading that he never
10 accepted or signed any written agreement with Marvel (Compl. ¶ 19)—is a tacit
11 admission that the 1990 agreement disposes of this claim.
12                3.     In Any Event, Scott’s Theory of a Partially Oral and Partially
                         Written Contract Is Legally Incoherent.
13
           Even if the Court were to permit Scott to go forward with alleging a “partly oral
14
     and partly in writing” agreement that he never disclosed in bankruptcy and which is
15
     directly contradicted by a signed contract he falsely says does not exist, his allegations
16
     show a lack of mutual assent to the made-up partly written contract. (See Compl.
17
     ¶ 36.) Mutual assent requires “[a]n acceptance” that “meet[s] exactly, precisely, and
18
     unequivocally the terms proposed in the offer.” Am. Aeronautics Corp. v. Grand Cent.
19
     Aircraft Co., 155 Cal. App. 2d 69, 79 (1957), superseded on other grounds by statute.
20
     Scott’s allegations, if true, would disprove rather than prove unequivocal mutual
21
     assent.
22
           California law does not permit a party to claim that rejected written contracts
23
     were selectively incorporated into an oral agreement. Here Scott alleges that he “never
24
     accepted” any of Marvel’s “proposed draft written agreements.” (Compl. ¶ 19.) If so,
25
     that means “the proposed written contract was of no force or effect,” not that selective
26
     “terms [that] were added in the writing [that] was never signed” can be folded into an
27
     alleged “oral agreement [that] was not reduced to writing.” See Am. Aeronautics, 155
28

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 1 Cal. App. 2d at 82-83; see also Khajavi v. Feather River Anesthesia Med. Grp., 84 Cal.
 2 App. 4th 32, 59-63 (2000); Yessup Touring II, LLC v. Baltimore Orioles, Inc., 2005
 3 WL 6124309, at *4 (C.D. Cal. Aug. 5, 2005). On its own terms, Scott’s alleged hybrid
 4 agreement cannot support a plausible claim for an enforceable agreement under
 5 California law.
 6            C. Scott’s Breach of Implied-Contract Claim Fails.
 7         Controlling precedent forecloses Scott’s third cause of action, a “Desny claim”
 8 for breach of an implied-in-fact contract purportedly entitling him to compensation for
 9 allegedly disclosing ideas for the Muppet Babies reboot to Disney in 2016. To prevail,
10 Scott must plead and prove that: (1) he “clearly conditioned the submission of [his]
11 ideas on an obligation to pay for any use of [his] ideas”; (2) Disney, “knowing this
12 condition before [Scott] disclosed the ideas, voluntarily accepted the submission of the
13 ideas”; and (3) Disney “found the ideas valuable and actually used them—that is,
14 [Disney] based [its] work substantially on [Scott’s] ideas, rather than on [its] own ideas
15 or ideas from other sources.” Spinner v. ABC, Inc., 215 Cal. App. 4th 172, 184 (2013)
16 (emphasis in original); see generally Desny v. Wilder, 46 Cal. 2d 715 (1956). Scott
17 cannot plead these elements conclusorily with “bare allegations, stripped of relevant
18 details”; he must plead both “details” and “dates.” Daniels v. Walt Disney Co., 958
19 F.3d 767, 775 (9th Cir. 2020).
20                1.     Scott Has Failed to Plead an Implied Contract.
21         Scott has not pleaded facts that can support an implied contract. “The Ninth
22 Circuit has developed a multi-part test to evaluate Desny claims,” under which the
23 plaintiff must plead with “relevant details” that:
24      (1) the plaintiff prepared or created the work in question,
        (2) the work was disclosed to the defendant for sale, and
25
        (3) the disclosure was made under circumstances from which it could be concluded
26         that the offeree voluntarily accepted the disclosure knowing the conditions on
           which it was tendered and the reasonable value of the work.
27
28 Daniels, 958 F.3d at 774 (internal quotation marks omitted). In Daniels, the Ninth

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 1 Circuit held that a plaintiff had failed to plead a Desny claim even though she had
 2 alleged meetings with specific Disney executives at which, consistent with “customs
 3 and practices in the entertainment industry,” she disclosed her ideas. Id. at 769, 774-
 4 75. “[T]he existence of a conversation in which an idea is disclosed,” the Court held,
 5 is “by itself[] an insufficient basis to support an implied-in-fact contract.” Id. at 774-
 6 75. The Court affirmed the Desny claim’s dismissal because “bare allegations,
 7 stripped of relevant details,” that Disney “accepted the disclosure of [the plaintiff’s]
 8 ideas … with an expectation that it would have to compensate [her] if Disney+Pixar
 9 used [them]” failed to set forth detailed “circumstances from which it could be
10 concluded that [Disney] voluntarily accepted the disclosure knowing the conditions on
11 which it was tendered and the reasonable value of the work.” Id.
12         The allegations in Scott’s complaint are indistinguishable from those at issue in
13 Daniels: bare allegations that when Scott presented his ideas for a Muppet Babies
14 reboot to Disney in 2016, there was an “understanding on both sides that, if Disney
15 used [his] ideas and produced new episodes, it would pay for [his] ideas and honor the
16 commitments that Disney’s predecessor, Marvel, and Jim Henson, made to him.”
17 (Compl. ¶ 8.) Scott offers no details from which it could be concluded that Disney
18 “voluntarily accepted the disclosure knowing the conditions on which it was tendered
19 and the reasonable value of the work.” Daniels, 958 F.3d at 774. Scott does not allege
20 whether, much less how, the Disney executives would have been aware of the contours
21 of the purported “commitments” made to him by Marvel or Jim Henson in the early
22 1980s, nor how those purported commitments would translate into a valuation of his
23 ideas for a reboot.9 Scott’s generalized and conclusory allegations are an “insufficient
24 basis to support an implied-in-fact contract.” Id.
25
     9
26  Nor does Scott articulate which elements of his supposed “implied in fact contract”
   with Disney were in fact implied and which were based on the unspecified “express”
27 “representations and warranties” regarding compensation to which his Complaint
28 contradictorily refers. (See Compl. ¶¶ 42, 44.)

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1                 2.     Scott’s Prior Sharing of His Alleged Ideas Destroys Any
                         Consideration for an Implied Contract.
2
            Scott bears the burden of showing that he clearly conditioned the disclosure of
3
     his alleged ideas for the Muppet Babies reboot on compensation, but his allegations do
4
     precisely the opposite. “The idea man who blurts out his idea without having first
5
     made his bargain has no one but himself to blame for the loss of his bargaining
6
     power,” and the “law will not in any event, from demands stated subsequent to the
7
     unconditioned disclosure of an abstract idea, imply a promise to pay for the idea, for its
8
     use, or for its previous disclosure.” Desny, 46 Cal. 2d at 739. Only if he withheld “the
9
     disclosure of ideas” until after entering an agreement can a plaintiff claim he was
10
     offering “consideration for the implied promise to pay.” Quirk v. Sony Pictures Ent.
11
     Inc., 2013 WL 1345075, at *12 (N.D. Cal. Apr. 2, 2013).
12
            The idea of rebooting Muppet Babies was “otherwise freely available to”
13
     Disney. Quirk, 2013 WL 1345075, at *12. According to Scott, “[i]n 2014, [he]
14
     suggested to Disney that it produce new episodes of the Muppet Babies” after
15
     disclosing this same idea to the president of the Jim Henson Company. (Compl. ¶¶ 7,
16
     22-23.) Scott does not allege that there was any limit on the use of this idea or that any
17
     implied contract arose from that disclosure; these allegations foreclose a Desny claim
18
     based on Scott’s 2016 re-sharing of the idea for a reboot with Disney.
19
            To the extent Scott’s implied-contract claim is based on the specific details in
20
     his 2016 pitch for the reboot, that claim fails because Scott had already disclosed those
21
     ideas to Disney in the 1984 bible and scripts for the original series. Scott’s 2016 pitch
22
     document begins with the bold and italicized slogan “If it ain’t broke, don’t fix it!” and
23
     proceeds to make clear that the reboot would simply reiterate elements from 32 years
24
     earlier:
25
        “[I]t is only necessary to update the animation so that it looks like a 2017
26      production, and revise a few of its elements to make them fit better in today’s
27      world.”
       “The basic structure of the series should remain the same …. This is what made
28      the original series a classic and should not be changed.”
                                                 -21-
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1      “As before, all of our stories will take place in the Muppet Babies’ imaginations.”
2      “[The Babies] should not be redesigned, but simply modeled in CG to look as
        closely like the original 2d characters as possible …. Like the Babies, their home
3       should also be upgraded from 2D to rich, Pixar-Disney quality CG.”
4      “We can keep [the nanny character] visible from the socks down as before.”

5 (Compl., Ex. 3 at 1-3.) Because all of these ideas were “otherwise freely available to”
6 Disney, their disclosure could not have been consideration for any implied contract in
7 2016. Quirk, 2013 WL 1345075, at *12.
8                 3.     The Muppet Babies Reboot Shares No Substantial Similarity to
                         the Ideas Scott Purportedly Pitched in 2016.
9
           Scott’s implied-contract claim fails for yet another reason: as a matter of law,
10
     the new and different ideas he supposedly pitched to Disney in 2016 bear no
11
     substantial similarity to Disney’s Muppet Babies reboot. To prevail on a Desny claim,
12
     a plaintiff must plead and prove “substantial similarity between [the] plaintiff’s idea
13
     and [the] defendant’s production to render [the] defendant liable.” Benay, 607 F.3d at
14
     631 (internal quotation marks omitted). Because the only ideas that can form the
15
     consideration are those that were not already known to Disney in 2016, Desny, 46 Cal.
16
     2d at 739, and because “copying less than substantial material is non-actionable,”
17
     Benay 607 F.3d at 631, Scott has the burden of showing that Disney’s reboot is
18
     substantially similar to new ideas that Scott allegedly disclosed in 2016.
19
           Here, as explained above (see Part IV.A.2 supra), the vast majority of the ideas
20
     Scott purportedly pitched to Disney in 2016 were either already featured in the original
21
     series or contained in the production bible compiled in 1984. Of the ideas in Scott’s
22
     2016 pitch materials that were conceivably new and different, moreover, Scott has
23
     failed to plausibly allege, as he must, that Disney “actually used them” in the reboot—
24
     that is, “based [its] work substantially on [his] ideas, rather than on [its] own ideas or
25
     ideas from other sources,” Spinner, 215 Cal. App. 4th at 184. Specifically, Scott
26
     proposed “changing the[] nursery to a preschool,” (Compl. Ex. 3 at 2), but the reboot
27
     kept the nursery setting, (see, e.g., RJN, Ex. B-1 (reboot Season 1, Ep. 1) at 1:12-3:57).
28

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 1 Scott proposed renaming the Nanny character to “Franny”—another idea which was
 2 not used in the reboot—and casting a “younger, hipper female voice like Selena
 3 Gomez, Taylor Swift, [or] Daisy Ridley,” well-known pop stars and Star Wars starlet
 4 in their twenties, none of whom voiced Nanny in the reboot. (Compl., Ex. 3 at 3.)
 5         The only purportedly new and different idea that Scott has left—his alleged
 6 suggestion that “the Nanny character’s socks change in different episodes,” (Compl.
 7 ¶ 24)—is far too “meager and fragmentary” an element of the Muppet Babies reboot to
 8 establish substantial similarity between his pitch and the reboot. See, e.g., VMG
 9 Salsoul, LLC v. Ciccone, 824 F.3d 871, 878 (9th Cir. 2016) (citation omitted). And in
10 any event, Scott has failed to allege any facts demonstrating that Disney drew the
11 element from alleged discussions with Scott in 2016 rather from its “own ideas or
12 ideas from other sources.” Spinner, 215 Cal. App. 4th at 184.
13                4.     Scott’s Implied-Contract Claim Is Time-Barred.
14         In addition to failing on its merits, Scott’s implied-contract claim fails because
15 he did not assert it within two years of its accrual. See Cal. Civ. Proc. Code § 339(1)
16 (providing that any “action upon a contract, obligation or liability not founded upon an
17 instrument of writing” must be filed “[w]ithin two years”). A Desny claim accrues,
18 and the statute of limitations begins to run, on the date the defendant first discloses the
19 plaintiff’s idea to “a substantial segment of the public.” Benay, 607 F.3d at 633 (citing
20 4 Nimmer on Copyright § 19D.07[D]).
21         Because Scott filed this lawsuit on October 22, 2020, and accounting for the
22 tolling agreement that ran from January 31 to September 4, 2020, Scott may recover on
23 his Desny claim only if it accrued on or after March 20, 2018. But Disney disclosed to
24 the public many of the ideas Scott allegedly shared with it for a Muppet Babies
25 reboot—and Scott’s claim therefore accrued—well before then. No later than October
26 2016, it was public knowledge that a computer-animated Muppet Babies reboot was set
27 to air on Disney Junior in 2018. (See RJN, Exs. C-1 – C-4.) And by February 2018,
28 mainstream, industry, and fan-based media sources had reported that Jenny Slate (an

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 1 indie actress in her 30s) would voice the Nanny character; that the reboot would be
 2 “[s]et in the vibrant playroom of an urban brownstone with an expansive backyard”;
 3 and that the new series would feature fantasies “told from the babies’ perspective” to
 4 “encourage creative thinking and imagination,” (Id., Exs. C-5 – C-11, D-6). Disney
 5 itself, moreover, promoted the reboot extensively before March 20, 2018, including by
 6 publishing a teaser on YouTube in February 2018 exhibiting both the backyard play
 7 area and the fantasies referenced in Scott’s 2016 pitch document. (Id., Ex. C-12.)
 8         As a matter of law, these public disclosures of Scott’s supposed ideas caused his
 9 implied-contract claim to accrue before March 2020. See Thompson v. Cal. Brewing
10 Co., 191 Cal. App. 2d 506, 510 (1961) (extensive “test” advertising in San Diego and
11 Sacramento triggered statute of limitations on implied-contract claim because it
12 “immediately disclosed the idea to a substantial segment of the public”).
13            D. Scott’s Fraud Claim Is Not Pleaded With Particularity.
14         Scott’s fourth cause of action unsuccessfully asserts “the tort of promissory
15 fraud,” in which “a party enters into an agreement without intending to be bound by its
16 terms.” Hsu v. OZ Optics Ltd., 211 F.R.D. 615, 620 (N.D. Cal. 2002). The claim fails
17 to satisfy Fed. R. Civ. P. 9(b)’s requirement that a party alleging promissory fraud
18 “state with particularity the circumstances constituting fraud or mistake.” Id. The rule
19 requires “point[ing] to facts which show that [the] defendant harbored an intention not
20 to be bound by [the] terms of the contract at formation.” UMG Recordings, Inc. v.
21 Glob. Eagle Ent., Inc., 117 F. Supp. 3d 1092, 1109-10 (C.D. Cal. 2015) (citations
22 omitted). “[I]ntent not to perform cannot be proved simply by showing a subsequent
23 failure to perform,” id., and “[a]llegations … based on information and belief usually
24 do not satisfy” the standard, Muriu v. W. Coast Life Ins. Co., 2017 WL 10592124, at
25 *4 (C.D. Cal. May 25, 2017) (citations omitted).
26         Scott’s fraud claim does not come close to meeting Rule 9(b)’s high standard.
27 For one thing, the crux of Scott’s fraud theory—that Disney executives knew and
28 concealed that Disney was gearing up to produce a Muppet Babies reboot and “had no

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 1 intention of offering Scott an opportunity to work on the reboot or pay him for his
 2 ideas,” (Compl. ¶ 49)—rests wholly, and impermissibly, on information and belief,
 3 and Scott fails to articulate “the facts on which th[at] belief is founded.” Muriu, 2017
 4 WL 10592124, at *4 (citation omitted). He also makes no effort to plead any details
 5 supporting his theory that the Disney executives with whom he allegedly spoke in
 6 early 2016 furtively “harbored an intention not to be bound by [the] terms” of
 7 whatever contract they purportedly formed with Scott—other than, perhaps, Disney’s
 8 alleged failure to perform under that contract, which does not suffice. UMG, 117 F.
 9 Supp. 3d at 1109-10. These threadbare allegations cannot bootstrap what Scott alleges
10 was a mere failure to perform into full-blown fraud, id. at 1109, and are precisely the
11 kind of unsupported innuendo of fraudulent intent that Rule 9(b) condemns. Vess v.
12 Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).
13 V.      CONCLUSION
14         For the foregoing reasons, Defendant The Walt Disney Company requests that
15 this Court dismiss the Complaint for lack of subject-matter jurisdiction under Fed. R.
16 Civ. P. 12(b)(1) or, in the alternative, dismiss each of Scott’s claims with prejudice
17 under Fed. R. Civ. P. 12(b)(6).
18
19 DATED: January 27, 2021                   MUNGER, TOLLES & OLSON LLP
                                               ERIN J. COX
20
                                               MARK R. YOHALEM
21                                             BRANDON E. MARTINEZ
22
23                                           By:         /s/ Erin J. Cox
24                                                          Erin J. Cox

25                                           Attorneys for The Walt Disney Company
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